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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF ILLINOIS
                                            F],,A.STERN   DIVISION

THE UNITED STATES OF AME,RICA,

                                                                       No. 14-cr-287

WARREN N. BARR,         II I,                                          Hon. Charles R. Norgle

                  Det'endant.

                                                     ORDER

Defendant's Motion to Dismiss Indictment [298] is denied. Defendant's Motion to Withdraw Plea [300] is
denied.

                                                 STATf,MENT

           On May 15,2014. Defendant Warren N. Barr, Ill ("Defendant") was charged in an indictment with
seven counts ofbank fraud, in violation of 18 U.S.C. I 1344, and four counts of making a false statement
to a financial institution. in violation of 18 U.S.C. $ 1014. Defendant was indicted along with five other
individuals for a scheme to defraud a financial institution in connection with the sale of numerous
condominium units located at 1255 S. State Street, Chicago, Illinois.r
           On May 16, 2014, the Court issued a bench warrant for Defendant. At the time of his indictment,
Defendant $.as located abroad in Saudi Arabia, and at some point, he was arrested the hy local authorities
for matters unrelated to his indictment here in the United States. However, Defendant eventually returned
to the United States and on February 4, 2015, he was arested in the Eastern District of Virginia. On March
30, 201 5, the bench warrant issued by this Court was returned executed. Defendant's arraignment was held
on April I 7, 201 5, where he entered a plea of not guilb,. A detention hearing was subsequently held, and
Defendant uas released on bond.
           After Defendant's release on bond, his retained counsel w.ithdrew. On July 7,2015, the Cotlrt
appointed Panick E. Boyle (''Boyle") as counsel fbr Defendant. On June 17,2016, Defendant entered into
a written Plea Agreement with the Government wherein he pleaded guilty to Count Ten of the indictment,
charging hirn with making a false statement to a financial institution, in violation of I 8 U.S.C. S I 014. Dkt.
 152, Plea Agreement. In the Plea Agreement, Defendant reserued the right to challenge various sentencing
enhancements undcr the advisory Sentencing Guidelines, including the loss amount under Guideline
$ 2Bl.l(bXl ). Id. at 9.'l'he Plea Agreement explicitly states the Government's position that under Guideline
S 2B I . l(bX I XK), a 2O-level enhancement is appropriate because the total loss attributable to Defendant's
conduct is approxirnately $13,045,119.00. Id. at 5. The Plea Agreement also explicitly states Defendant's
position that no enhancement is appropriate pursuant to Guideline $ 28 1 . l(bX I XA) because the amount of
loss for which Defendant is responsible is $ I ,700.00. ld. at 5.
       On June I 7, 2016, the Court held a change ofplea hearing, where Defendant entered a plea ofguilty
to Count Ten ofthe indictment. At the change of plea hearing, the Court placed Defendant under oath and
delivered its sentencing colloquy pursuant to Federal Rule of Criminal Procedure 11. Dkt.304, Covt.'s
Resp. to Def.'s Mot. to Withdraw Plea" Ex. A, Transcript of June 17, 20J6 Change of Plea Hearing.
Defendant agreed with the Government's recitation of facts establishing his guilt. Id. at 7-8. The Cout

rThe building located at 1255 S. State Street, called "Vision on State," was built between 2004 and 2008 by l3th and
State. LLC, and contains approximately 250 residential condominium units. Det'endant was a member of l Sth and
State, LLC and a real estate developer who facilitated the construction, development, and sale ofcondominium units
at Vision on State-
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 made clear that the Sentencing Guidelines are advisory and not mandatory. Id. at 7-9. Defendant agreed
 that he read the Plea Agreement and that his attorney, Boyle, was available to answer any of his questions.
 Id. at I 0. Defendant also agreed that he had enough time to consider entering his plea of guihy. Id. Finally,
 when prompted by the Court, Defendant stated that he had no questions about the plea and understood
 everything that he had been informed of by the Court. Id. at I I .
            Following Defendant's guilty plea. sentenoing was initially sel for October 12,2016. However,
 over the next two years. the sentencing hearing was rescheduled over a dozen times and was eventually set
 for January 8, 2019. On November 30, 2018, Boyle withdrew as counsel for Defendant, and was replaced
 by Defendant's present retained counsel, Michael lrving Leonard ("Leonard").
            On January 2, 201 9, over trvo and hallyears since his guilty plea and less than onc week before the
 long-delayed sentencing hearing scheduled for.lanuary 8, 20 19. Defendant filed three motions: ( I ) a motion
to dismiss the indichnent. Dkt. 298: (1) a motion to withdraw his guilry plea, Dkt. 300; and (3) a motion to
continue the sentencing hearing, Dkt. 302. The Court will address the first two motions in the instant Order,
and Defendant's motion to continue the sentencing hearing is addressed in a separate order.
            In his nrotion to withdraw his plea, Defendant argues that he should be allowed to withdraw his
plea of guilty based on ineffective assistance of counsel. More specifically, Defendant asserts that his
previous atlorney, Boyle, did not inform him prior to pleading guilty that the Government must prove the
 loss amount at sentencing by a preponderance of the evidence, as opposed to beyond a reasonable doubt.
According to Defendant, and as stated in his aftached affidavit, had he known that that the Government
need only prove the loss amount by a preponderance of the evidence at sentencing, rather than beyond a
 reasonable doubt. he would not have plead guilty, but instead would have proceeded to trial. Dkt.300,
 Def.'s Mot. to Withdraw Plea, p. 2: Id., Ex. A, Affidavit of Warren N. Barr ("Barr Aff.") flfl 4-9. Defendant
does rr.r/ contend. however, that Boyle misinformed hirn as to the correct burden ofproofat sentencing, or
tliat he asked Boyle what the correct burden olproof would be. but never received an answer. Rather,
 Defendant states that he "always held the beliefthat the Government would have to prove the loss amount
beyond a reasonable doubt" and that he "was never advised by [Boyle] that the Covernrnent had to prove
the loss amount by a preponderance ofthe evidence." Barr Aff. flfl 4-5.
           "A defendant has no absolute right to rvithdraw a guilty plea before sentencing." United States v.
Collins, 796 F.3d 829, 834 (7th Cir. 2015). Rather, "[a] guilty plea, once accepted by the court, may be
withdrawn on11, for a 'fair and iust reason,' and the burden ofjustifying relief rests with the defendant."
United States v. Lundy.484 F.3d 480,484 (7th Cir. 2007) (quoting Fed. R. Crim. P. ll(d)(2)(B)) "[T]he
defendant bears a heavy burden of persuasion in showing such a reason exists." Collins, 796 F.3d at 834.
"Factors considered in detennining wlrether a defendant has demonstrated a fair andjust reason to withdraw
a guilty plea include: (l) the timeliness of the defendant's attempted plea withdrawal; (2) whether the
defendant has asserted or maintained his innocence, and (3) the voluntariness ofthe plea," United Sates v.
Krasinski, No. 0l CR 0251,2005 WL 8160439. at t2 (N.D. Ill. Jan. 24, 2005)
           ''lnef.fuctive assistance ofcounsel can render a plea agreement involuntary, and in such a case, it is
a valid basis for withdrawing a guilty plea." United States v. Peleti, 576 F.3d 377,383 (7rh Cir. 2009).
''[T]he two-par Strickland v. Washington test applies to challenges to guillv pleas based on ineffective
assistance ofcounsel." Hill v. Lockhart,474 U.S. 52, 58 (1985) (citing Strickland v. Washington,466 U.S.
668 (1984). "To shorv ineffective assistance of counsel, a defendant 'must show both that the counsel's
performance rvas objectively unreasonable and that, but for counsel's errors. the defbndant would not have
pleaded guilty."' Peleti. 576 F.3d at 383 (quoting United States v. Lundy, 484 F.3d 480, 484 (7th Cir.
2007)). However. "[c]our1s should not upset a plea solely because ofpast hoc assertions from a defendant
about how he would have pleaded but for his attorney's deficiencies." Lee v, United States, 13 7 S. Ct. I 958,
 1967 (2017\. Rather, couds "should instead look to contemporaneous evidence to substantiate a defendant's
expressed pret'erences.''   !!,
         Here, Defendant fails to show either that Boyle's perfbnnance was objectively unreasonable or that
he u.ould not have plead guilty if he had known the correct standard of proofat sentencing. As to the first
Strickland element, Defendant cites no case where a couft has found that an attomey's failure to inform a
client that the preponderance ol evidence standard applies at sentencing amounts to ineffective assistance
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 ofcounsel, and neither the Government nor the Court has been able to find such a case. In shoft, Defendant
 produces no authoritl, in support of his contention that Boyle's performance was objectively unreasonable;
  instead, he argues in conclusory fashion that Boyle's failure to anticipate and correct Defendant's own
 rn isapprehension regarding the burden of proofat sentencing "cleady falls below the objective standard of
 reasonableness expected of defense counsel under Strickland." DeL's Mot. to Withdraw plea, p 3. 'l'he
 Court regards such a conclusory argument as undeveloped. tJn ited States v. Hook , 471 F -3d 766. 715 (7th
 Cir. 2006) ("IP]erf'unctory and undeveloped arguments, and arguments that are unsupported by pertinent
 authority, are rvaived (even where those arguments raise constitutional issues.)" (citation omitted)).
           As to the second Strickland element, Defendant presents no contemporaneous evidence in support
 of his assertion that he would he would not have pleaded guilty had he known that the Govemment need
 only prove the loss amount at sentencing by a preponderance of the evidence. As discussed above,
 Defbndant does not argue that Eloyle informed him incorrectly as to the applicable standard of proof at
 sentencing. Rather, he contends that it was his own misapprehension on which he relied when entering his
 guilty plea. However, at the June 17,2016 ChangeofPlea Hearing, the Court presented Defendant with the
 opportunity to ask any questions he might have regarding his plea, and Defendant declined to do so.
 Transcript ofJunc I 7, 2016 Change ofPlea Hearing. p. I I . Thus, the only evidenoe presented by Defendant,
 in tlre fonn of his orvn affidavit, is nothing more than a post hoc assertion that he would have pleaded
 diff'erently had he known the corect standard ofproofat sentencing. Lee, ll7 S. Ct. at 1967.
           Moreover, as noted above, the Court recited a thorough and complete Rule I I colloquy at the June
  I 7, 201 6 Change of Plea Ilearing and Defendant agreed that he understood everlthing that he had been
 infbrmed of by the Court. Transcript of June I 7, 2016 Change of Plea Hearing, pp. 3-5, I I . Critically,
 Defendant does not argue that Rule ll was violated in some way when he entered his guilty plea. United
 States v. Ellison, 835 F.2d 687, 693 (7th Cir. 1987) ("The whole point of the plea proceeding (the Rule I   1


 colloquy) is to establish that the plea was knowingly and voluntarily made."). Instead, Defendant seems to
 suggest that the standard of proof at sentencing should be part ofthe required Rule I I colloquy but, of
 course, it is not. Sge Fed. R. Crim. P. I 1.
           Finally, as to u,hether Defendant has demonstrated a lair andjust reason to withdraw his plea, aside
 from his argumcnt as to ineffective assistance of counsel. the Coun considers the timeliness of the
 Defendant's attempted plea withdrawal and whether the Defendant has asserted or maintained his
 innocence. See Krasinski,2005 WL 8160439, at *2. Here, Defendant's motion to withdraw his plea was
filed less than a rveek before his scheduled sentencing hearing, which has already been rescheduled over a
dozen times. This type ofprocedural "sandbagging" clearl!'does not weigh in favor of allowing Defendant
to withdrau, his plea. United States v. Arenal, 500 F.3d 634,639 (7th Cir. 2007). In regard to the latter
element. the Court notes that Defbndant agreed with the Government's recitation of facts establishing his
guilt in both the Plea Agreement and at the change ofplea hearing. Plea Agreement. pp. 2-3; Transcript of
June 17.2016 Change of Plea Hearing, pp. 7-8. Defendant does not dispute any of these facts now.
Accordingly, for the above reasons, Defendant's motion to withdraw his plea of guiltv is den ied.
           Next. Defendant requests the Court to dismiss the indictment. On March 2l , 201 7, Defendant filed
a motion under Brad), v. Maryland, 373 U.S. 83 (1967), seeking the Government to turn over documents
relevarlt to his arrest and purported six-month detention in Saudi Arabia. On March 24, 2017, the Couft
granted Def-endant's March 21, 2017 Motion. Following the Court's March 24, 2017 Order, the
Govemment produced various repofts that pertained to the issues Def'endant sought. The Government also
arranged for Defbndant and his prior counsel, Boyle, to review classified materials related to the matter. On
Novenrber 21,2018. prior to Defendant's present attorney, Leonard, filing his notice of appearance, the
Government produced additional materials which concerned,, inrcr alia, the Government's attempts to bring
Defendant back to the United States.
           Defendant now argues that the Government breached their obligations under Bradv v Maryland,
373 US 83 (1963), when it failed to compJy with the Court's March 24, 2017 Order, and postulates that
there is more discovery that the Govemnrent is neglecting to tender. Defendant also argues the recent
tendered discoverJ contradicts the Covernment's original position that it was not involved with the arrest
of Defendant in Saudi Arabia. Defendant concludes that the Covernment's failure to comply with the
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Court's March 24, 201 7 Order. and abuse ofthe discovery process requires the Court to use its supervisory
power to dismiss the indictment against Defendant. In his motion to dismiss the indictment, Defendant does
not cite a single case to suppoft the relief he seeks. ln his Reply, Dkt. 309, Defendant also does not cite to
any analogous case where an indictment was dismissed prior to trial or sentencing. Rather, Plaintiffcites to
several cases that demonstrate that the Court has the authority to dismiss an indictment over a Brady
violation an assertion that is not in dispute.
         "[T]he suppression by the prosecution of evidence favorable to an accused upon request violates
due process where the evidence is material either to guilt or to punishment, irrespective ofthe good faith or
bad faith ofthe prosecution." Brady, 373 U.S. at 87. "Although the term 'Brady violation' is often used to
refer to any breach of the govemment's broad obligation to disclose any exculpatory information, the
Supreme Court had made it clear that there is no true 'Brady violation' unless the non-disclosure was so
serious that there is a reasonable probability that the suppressed evidence would have produced a different
verdict." United States v. Fallon. 348 F.3d 248, 251 (7th Cir. 2003). "There are three components to a Brady
violation: ( I ) the evidence at issue is favorable to the accused because it is either exculpatory or impeaching:
(2) the evidence has been suppressed b;-, the govemment, either willfully or inadvertently; and (3) the
suppressed evidence resulted in prejudice." United States v. O'tlara,30l F.3d 561, 569 (7th Cir. 2002).
         Defendant argues that the period of time that elapsed between the Courl's March 24,2017 Order
and the Govemment tendering additional discovery on November 27, 2018, is a Brady violation and
requires disnrissal of the indictment. The Court disagrees. "[E]vidence for Brady purposes is deerned
'suppressed' if the prosecution failed to disclose the evidence before it lvas too late for the defendant to
make use ofthe evidence." Boss v. Pierce,263 F.3d 734,739 ('lth Cir. 2001), cert. denied, 535 U.S. 1078
(2002). While Defendant takes unrbrage with the period of twent], some months to receive the November
27,2018 Discovery, what is important regarding a Brady violation is that Defendant did receive the
discovery and that the Court continued the sentencing to January 8, 2019, giving Defendant time to make
use ot'the new material. See O'Hara, 301 F.3d at 569 (finding that even though the material was discovered
during trtal, the Delendant had sufficient time to make use ofthe material and that "[d]elayed disclosure of
evidence does not in and of itself constitute a Brady violation." (citing United States v. Walton, 2l 7 F.3d
443,449 (7th Cir. 2000)).
         Additionally, Def'endant fails to demonstrate that there is other discovery thal is moleriul to his
sentencing. Defendant contends that his purported six-rnonth irnprisonment in squalid conditions can be a
factor the Court u'ould consider in mitigation at sentencing. However, Defendant has not demonstrated that
there is other evidence that has not been already shared with him to help him make this argument. The
discovery that the Government tendered demonstrates its role in Defendant's arrest. details of Defendant's
incarceration, and the Govemment's procedure to bring him back to the United States. The Court rejects
Defendant's argument that the Covernment has suppressed material evidence in this mafter. Defendant has
the discovery necessary for his sentencing, a sentencing that peftains to Def'endant's illegal conduct
perpetrated in the Northern District of Illinois-not Saudi Arabia.
         While the Court has the authority to dismiss an indictment for a Brady violation, such action should
only be considered violation is flagrant and substantially prejudicial to the defendant, a burden Det-endant
has not met. U.S, v. Chaprnan, 524 F.3d 107i, 1087 (9th Cir. 2008). Accordingly, for the above reasons,
Defendant's motion to dismiss the indictment is denied.
         IT IS SO ORDERED.
                                                        ENTER:




                                                    CHARLES RONALD NORCL
                                                    [Jnited States District Court

DATE: Januar','7.2019
